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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


GLOBAL HEALTH COUNCIL et al.,

                      Plaintiffs,

        v.                                                     Civil Action No. 25-cv-402

DONALD J. TRUMP et al.,

                      Defendants.


                 PLAINTIFFS’ EMERGENCY NOTICE IN SUPPORT OF
                  MOTION FOR TEMPORARY RESTRAINING ORDER

       Since the filing of Plaintiffs’ motion for a temporary restraining order and preliminary

injunction (ECF No. 4) yesterday morning, Plaintiffs’ counsel have received information that

Defendants are accelerating their terminations of contracts and suspensions of grants of USAID

and State Department partners—exacerbating the irreparable harm Plaintiffs are currently

suffering (see ECF Nos. 4, 7)—and may be doing so specifically in response to this lawsuit and

the pending motion. Shortly after the filing of this lawsuit, multiple Plaintiffs (and members of

Plaintiffs’ organizations) received new purported termination notices, including yesterday and this

morning.

       Plaintiffs therefore request that the Court either immediately enter their proposed

temporary restraining order (ECF No. 4-1) or set a hearing on the pending motion today, at the

earliest opportunity. Plaintiffs’ counsel are available, whether in person, telephonically, or by

video conference, at any time.




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Dated: February 12, 2025            Respectfully submitted,

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